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       UNITED STATES COURT OF INTERNATIONAL TRADE
        BEFORE: HONORABLE M. MILLER BAKER, JUDGE


      GREEN FARMS SEAFOOD JOINT
      STOCK COMPANY,
                                                PUBLIC VERSION
                               Plaintiff,
                       v.

      UNITED STATES,
                                                Court No. 22-00092
                               Defendant,

                       and

      CATFISH FARMERS OF
      AMERICA, et al.

                       Defendant-
      Intervenors.


     PLAINTIFF’S COMMENTS IN OPPOSITION TO REMAND

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Dated: December 16, 2024




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                                  GLOSSARY

  Abbreviation                                 Term

 AFA                  Adverse Facts Available

 CD                   Confidential Record Document (intitial case record)

 Commerce             United States Department of Commerce

 East Sea             East Sea Seafoods LLC

 FOP                  Factors of Production

 NTSF                 NTSF Seafods Joint Stock Company

 IDM                  Issues and Decision Memorandum for the Final
                      Results of the Seventeenth Administrative Review:
                      2019-2020, (March 19, 2022) (PD 444)

 Kg                   Kilogram

 PD                   Public Record Docuent (Initial case record)

 RCD                  Remand Confidential Record Document

 RPD                  Remand Public Record Document




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                               INTRODUCTION

        On behalf of Green Farms Seafood Joint Stock Company (“Green

Farms” or “Plaintiff”), and pursuant to the Court’s April 17, 2024

Opinion and Order, ECF No. 52, and the Court’s November 18, 2024

remand Scheduling Order, ECF No. 63, we submit Plaintiff’s comments

in opposition to the Final Results of Redetermination Pursuant to Court

Remand (Oct. 18, 2024) (“Final Remand”), filed by the U.S. Department

of Commerce (“Commerce”) on October 18, 2024, ECF No. 57.

Commerce filed the administrative record for the Final Remand on

November 1, 2024, ECF Nos. 59-1 and 59.2.1

                        STANDARD OF REVIEW

        The Court will hold unlawful agency determinations that are

“unsupported by substantial evidence on the record, or otherwise not in

accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i); Ausimont USA, Inc.

v. United States, 19 CIT 151, 157, 882 F. Supp. 1087, 1092 (1995).

Substantial evidence means that there is “more than a mere scintilla. It


1References to the administrative record for the Final Remand are
shown as “RCD” (confidential) and “RPD” (public). References to the
initial administrative record submitted to the Court on May 31, 2022,
ECF Nos. 18-1 and 18-2, are shown as “CD” (confidential) and “PD”
(public).

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means such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Consol. Edison Co. v. NLRB, 305

U.S. 197, 229 (1938). The Court also reviews Commerce’s remand

redeterminations for compliance with the Court’s remand order.

Xinjiamei Furniture (Zhangzhou) Co. v. United States, 968 F. Supp. 2d

1255, 1259 (Ct. Int’l Trade 2014) (quoting Nakornthai Mill Public Co. v.

United States, 587 F. Supp. 2d 1303, 1306 (Ct. Int’l Trade 2008).

        Commerce must act reasonably and may not be arbitrary and

capricious. See e.g., Changzhou Wujin Fine Chem. Factory Co. v. United

States, 701 F.3d 1367, 1374 (Fed. Cir. 2012) (“Commerce’s decision will

be set aside if it is arbitrary and capricious.”).

                               BACKGROUND

        A.      The Court’s Remand Order and Findings

        These remand proceedings arise from Plaintiff Green Farms’

challenge to the antidumping (“AD”) rate assigned to it in the Final

Results of the seventeenth administrative review (“AR17”) of the AD

order on certain frozen fish fillets from Vietnam. See Certain Frozen

Fish Fillets from the Socialist Republic of Vietnam: Final Results of

Administrative Review, 87 Fed. Reg. 15,912 (Dep’t of Commerce March


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21, 2022) (“Final Results”), Appx__ (PD 447), and accompanying Issues

and Decision Memorandum (“IDM”), Appx__ (PD 444). Green Farms

challenged the methodology used by Commerce in the Final Results to

calculate Green Farms’ “separate rate”. Green Farms argued that

Commerce unreasonably relied on a very high punitive AD rate

assigned to another respondent in that case to calculate Green Farms’

AD rate.

        The Court remanded two separate aspects of Commerce’s Final

Results regarding the calculation of Green Farms’ separate rate. See

Green Farms Seafood Joint Stock Co. v. United States, Court No. 22-

00092, Slip Op. 24-46 (Ct. Int’l Trade April 17,202), ECF No. 53 (“Slip

Op.”) at 14 and 18. First, the Court determined that Commerce did not

adequately explain its decision granting a separate rate to East Sea

(one of the mandatory respondents in the case). See id. at 13-14. The

Court therefore remanded and instructed Commerce to provide a “fuller

explanation” of its decision granting East Sea a separate rate. Id. at 14.

         Second, the Court separately held that Commerce improperly

relied upon East Sea’s punitive “adverse facts available” (“AFA”) rate in

calculating Green Farms’ dumping rate without adequate justification.


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See id. at 16-18. Specifically, the Court determined that Commerce’s

decision lacked “substantial evidence showing that Green Farms’ tariff

reflects economic reality.” Id. at 18. The Court agreed with Green

Farms that Commerce’s decision on this point was “wholly circular and

arbitrary.” Id.

        The Court therefore remanded on both points, ordering first that

“Commerce must reconsider East Sea’s eligibility for a separate rate.”

Id. The Court further ordered that “{i}nsofar as the Department

reaffirms that determination, it must then reconsider the calculation of

Green Farms’ margin.” Id.

        B.      Commerce’s Draft and Final Remand Determinations

        On August 13, 2024, Commerce issued its Draft Results of

Redetermination Pursuant to Court Remand (Aug. 13, 2024) (“Draft

Remand”), Appx__ (RCD 1; PCD 1). In its Draft Remand, Commerce

upheld both of its prior decisions without substantive change.

        With regard to East Sea ’s separate rate, Commerce continued to

find that East Sea was eligible for a separate rate. See id. at 4-11.

Commerce provided a more fulsome explanation to support its decision,

including a more detailed analysis of the separate rate statutory factors


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addressing the so-called “de jure” and “de facto” requirements. See id.

at 6-10. But Commerce failed to address several other evidentiary

shortcomings regarding East Sea’s separate rate eligibility, including

the fact that East Sea quit the case, thus preventing Commerce from

verifying East Sea’s information. See Id. at 4-11. Indeed, Commerce

never even mentioned this fact in the Draft Remand. Rather, Commerce

asserted that “the record contains no evidence indicating that {East

Sea’s} statements were false, or that the information it provided was

incomplete or otherwise deficient.” Id. at 10.

        With regard to Green Farms’ separate rate calculation, Commerce

again calculated Green Farms’ separate rate by averaging the harshly

punitive total AFA rate (of $3.87/kg) applied to East Sea and the zero

rate ($0.00/kg) calculated for NTSF, the other mandatory respondent in

the case. See id. at 11-14. Commerce sought to address the Court’s

concerns that Green Farms’ rate must be “reflective of commercial

reality” by comparing Green Farms’ prices to the prices of the two other

respondents, East Sea and NTSF. See id. at 11-12. Commerce

concluded that this comparison “shows that the dumping margin

assigned to Green Farms is reasonably reflective of its commercial


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behavior, given that its pricing fell between the prices reported by the

two mandatory respondents.” Id. at 12.

        On August 27, 2024, Green Farms submitted its comments on the

Department’s Draft Remand. See Green Farms’ Comments on Draft

Remand Redetermination (August 27, 2024) (“Remand Comments”),

Appx__ (RCD 3; RPD 5). In its Remand Comments, Green Farms

argued that Commerce’s Draft Remand results failed to address the

Court’s concerns, and that they were otherwise unlawful and

unsupported by substantial evidence. See id. at 1-2.

        On October 18, 2024, Commerce issued its Final Remand Results,

rejecting all of Green Farms’ arguments and continuing to find that

East Sea was eligible for a separate rate. Commerce also continued to

find it was otherwise appropriate to assign Green Farms a final

separate rate based on an average of the East Sea and NTSF rates. See

Final Remand at 5-14 and 35-50, Appx__ (RCD 4; RPD 6). For the

reasons discussed below, the Court should remand Commerce’s findings

on both of these issues for a second time. Commerce has failed to

consider all of the evidence and fully explain its findings. Commerce’s

decision is also contrary to its practice.


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                               ARGUMENT

I.      Commerce’s Decision Granting East Sea A Separate Rate
        Fails To Consider All Of The Evidence And Is Otherwise
        Unlawful

        Commerce provided additional explanation to support its decision

granting East Sea a separate rate. See Final Remand at 5-11 and 36-

41, Appx__ (RCD 4; RPD 6). Indeed, Commerce drafted six pages of

additional explanation in its underlying decision, and five more pages

addressing Green Farms’ comments. See id. While Commerce has

addressed some of the Court’s concerns, Commerce still fails to address

all of the relevant record evidence, including that which detracts from

its findings. Commerce’s actions are unlawful because the “substantial

evidence” standard requires that Commerce consider “contradictory

evidence or evidence from which conflicting inferences could be drawn.”

Suramerica de Aleanciones Laminadas C.A. v. United States, 44 F.3d

978, 985 (Fed. Cir. 1994).

        A. Commerce Ignores that East Sea Quit the case

        Indeed, there is one glaring evidentiary omission in Commerce’s

analysis. Specifically, Commerce declares that “the record contains no

evidence indicating that {East Sea’s} statements were false, or that the


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information that it provided was incomplete or otherwise deficient.”

Final Remand at 11, Appx__ (RCD 4; RPD 6). But this finding

contradicts the record evidence. In particular, Commerce fails to

overcome the critical fact that East Sea quit the case, thereby

preventing Commerce from verifying or otherwise confirming the very

separate rate information Commerce now relies upon. Commerce itself

conceded in the underlying proceeding that East Sea voluntarily

“suspended participation in the review.” See IDM at 26, Appx__ (PD 444).

        The fact that East Sea quit the case is important because

Commerce’s normal practice is to deny a separate rate application when

the separate rate applicant quits the case or “withdraws” from the

proceeding. See e.g., AMS Assocs. v. United States, 719 F. 3d 1376,

1378-80 (Fed. Cir. 2013). A company’s “withdrawal” from a proceeding

leaves Commerce “unable to verify” the company’s separate rate status.

Id. at 1379. Thus, where a separate rate applicant quits the case,

Commerce should deny the company’s separate rate status. See id.

        The Federal Circuit has specifically upheld this practice by

Commerce. See id. at 1380. The Federal Court noted in AMS that

Commerce reasonably denied the applicant’s separate rate status


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because Commerce was “unable to verify” its separate rate information

after it withdrew from the case. Id. at 1379. This is analogous to East

Sea’s situation where it completely withdrew from the case, thus

depriving Commerce of an opportunity to verify its information.

        B. Commerce Normally Rejects a Separate Rate
           Application when the Applicant Quits the case

        Indeed, Commerce has rejected separate rate status in similar

situations where the mandatory respondent quit the case. See e.g.,

Issues and Decision Memorandum for Final Affirmative Determination

of Dumping in Certain Tool Chests and Cabinets from China (A-570-

056) (April 3, 2018) (“Tool Chests”) at 6-7 (rejecting separate rate status

where mandatory respondent had “withdrawn” from proceeding). See

also Issues and Decision Memorandum for Final Affirmative

Determination of Dumping in Sodium Gluconate, Gluconic Acid, and

Derivative Products from China (A-570-071) (Sept. 17, 2018) (“Sodium

Gluconate”) at 4 (rejecting separate rate status where mandatory

respondent “notified Commerce of its intention to not continue

participating” in the case).

        Commerce’s response in its Final Remand to these arguments is

wholly unconvincing. Commerce seeks to downplay the significance of

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East Sea’s complete withdrawal from the case by emphasizing that it

relied on the information East Sea provided before its withdrawal from

the case. See Final Remand at 38-40, Appx__ (RCD 4; RPD 6).

Commerce references the Final Results, stating “{w}e found no basis to

determine that the separate rate information submitted was not

reliable.” Id. at 38-39. But this self-serving statement ignores that East

Sea quit the case, thereby preventing Commerce from confirming that

the information submitted was reliable. Commerce’s statement begs the

question - how does Commerce know the information was reliable if it

was unable to verify that information?

        Indeed, the Tool Chests decision (discussed by Commerce in the

Final Results) is particularly instructive, and Commerce fails to

distinguish that decision. Commerce acknowledged in Tool Chests that

the separate rate information was unreliable because the separate rate

respondent “refused to allow Commerce to verify the separate rate

information that it had placed on the record.” See IDM at 29, Appx__

(PD 444). Commerce explained further in Tool Chests (about the

separate rate applicant “Geelong”) that “{g}iven that Geelong has

withdrawn from participation in this investigation such that we cannot


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verify the information Geelong submitted to demonstrate its eligibility

for separate rate status, we have denied Geelong separate rate

eligibility and treated Geelong as part of the China-wide entity.” See

Tool Chests at 7.

        This is precisely the situation for East Sea in this case. East Sea

provided separate rate information, but then withdrew from the case,

thereby preventing Commerce from verifying that information.

Commerce should therefore deny East Sea’s separate rate and treat it

as part of the country-wide entity, just as it did for the respondent in

the Tool Chests decision. Doing so is consistent with other Commerce

decisions, including the Sodium Gluconate case noted above, where

Commerce also denied separate rate eligibility for a respondent that

quit the case, thereby rendering its separate rate responses

“unverifiable.” See Sodium Gluconate at 4. (finding separate rate

responses “unreliable” where respondent quit the case rendering its

separate rate responses unverifiable.).

        C. Commerce Fails to Distinguish its Prior Decisions

        Commerce’s efforts to distinguish these decisions in the Final

Remand results lack merit. Commerce argues unconvincingly that the


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AMS decision is inapposite because the respondent in that case

removed its information from the record. Final Remand at 40 - 41,

Appx__ (RCD 4; RPD 6). But this is a distinction without a difference

because, as Commerce itself concedes, the respondent in AMS ceased

participation in the case and “rendered its response unverifiable.” Id.

        Finally, Commerce also seeks to justify its decision by wrongly

claiming East Sea’s circumstances are “unique” because the AFA rate in

this case (i.e., $387/kg) is higher than the country-wide rate (i.e.,

$2.39/kg). See id. at 39. Commerce claims this unique fact would allow

East Sea to “benefit from its lack of cooperation” if it were denied a

separate rate. See id. at 39-40. But this argument lacks merit for a

number of reasons. First, the country-wide rate in the current AR17

proceeding is already prohibitively high (i.e. $2.39/kg as already noted

above). There is no practical difference for East Sea as between the total

AFA rate of $3.87/kg and the Vietnam-wide rate of $2.39/kg. Both rates

are prohibitive.

        Second, this fact pattern is not as unique as Commerce alleges.

Indeed, Commerce faced this same situation in the immediately

preceding sixteenth administrative review (“AR16”), but it reached the


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opposite result. In the AR16 proceeding, Commerce rejected the

separate rate application for mandatory respondent DOTA Seafoods for

its failure to cooperate, and it then applied the $2.39/kg Vietnam-wide

rate and not the higher 3.87/kg AFA rate for its failure to qualify for a

separate rate. See Certain Frozen Fish Fillets from the Socialist

Republic of Vietnam: Issues and Decision Memorandum for the Final

Results of Sixteenth Antidumping Administrative Review; 2018-2019,

(June 25, 2021) at 39-40. Commerce’s actions in this current AR17

proceeding are directly contrary to its actions in the AR16 proceeding

for a different mandatory respondent.

        D. Conclusion: Commerce’s Final Remand Results are
           Unlawful and Unsupported by Substantial Evidence

        Thus, Commerce’s Final Remand results do not comply with the

Court’s remand instructions, and they are otherwise unlawful and

unsupported by substantial evidence. Commerce has not only failed to

overcome evidentiary shortcomings, but its actions are also contrary to

its prior decisions in other cases and prior holdings of the Court.

Commerce may not arbitrarily depart from this written policy, and

particularly not without adequate notice or explanation. An agency

must adequately explain a change or deviation in policy. See, e.g.,

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Nippon Steel Corp. v. U.S. Int’l Trade Comn’n, 494 F.3d 1371, 1377 n.5

(Fed. Cir. 2007) (agency must “adequately explain the reason for a

reversal of policy”); see also Huvis Corp. v. United States, 570 F.3d 1347,

1354-55 (Fed. Cir. 2009) (Commerce must show “good reasons” for

methodological change). Indeed, "{a} court may measure Commerce's

reasonableness by determining whether Commerce's actions are

consistent with a past practice or stated policy." See Globe

Metallurgical, Inc., v. United States, 350 F. Supp 2d 1148, 1159, 28 CIT

1608, 1621 (2004).

        Commerce has failed to do so here and its actions are arbitrary.

The Court should remand yet again for these reasons.

II.     Commerce’s Calculation Of Green Farms’ Separate Rate Is
        Unlawful And Fails To Comply With The Court’s Remand
        Order

        Commerce correctly frames the remand issues for the calculation

of Green Farms’ separate rate, but it fails to comply with the law and

the Court’s instructions. Commerce also fails to support its decision

with substantial evidence. Indeed, Commerce does not fully justify how

the harshly punitive AFA rate it calculated for Green Farms actually

“reflects economic reality”, as the Court instructed. Commerce instead


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reverse-engineered its result by arbitrarily selecting and adjusting

individual prices derived from sample sales documents. Commerce

performed a contrived “short-cut” dumping calculation for Green Farms

to obtain the result it wanted. Commerce’s actions are contrary to its

practice and otherwise unreasonable. We discuss this below.

        A. Commerce Failed to Follow its Prior Practice for
           Calculating Separate Rates in Similar Circumstances

        In its Final Remand, Commerce justifies the margin it applied to

Green Farms as “reflective of commercial reality” by examining record

information regarding Green Farms’ pricing. See Final Remand at 11–

14, Appx__ (RCD 4; RPD 6). Commerce compared a single sales price

taken from Green Farms’ separate rate application to single sales prices

submitted by the two mandatory respondents (i.e., East Sea and NSTF).

See id. Commerce made multiple adjustments and concluded that the

dumping margin assigned to Green Farms was reasonably reflective of

its commercial behavior because “its pricing fell between the prices

reported by the two mandatory respondents.” See id. at 12.

        Commerce’s actions are unreasonable and fail to follow its

established practice under similar circumstances. In determining the

separate rate for non-selected respondents using an average in this

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context, Commerce normally assigns “non-selected respondents the

average of the most recently determined margins that are not zero, de

minimis, or based entirely on facts available (which may be from a prior

review or a new shipper review or the investigation).” See e.g. Final

Results of Redetermination Pursuant to Court Remands; Navneet

Publications (India) Ltd. v. United States, Court No. 13-00024; Slip Op.

14-87 (CIT July 22, 2014) at 3. See also Navneet Publications (India)

Ltd. v. United States, 999 F. Supp. 2d 1354, 1363 (Court Int’l Trade

2014) (noting that Commerce’s “preferred, alternative ‘reasonable

method’” under these circumstances is to use “margins previously

calculated for respondents” from prior proceedings).

        But Commerce did not use its “preferred” methodology. Commerce

invented a new methodology comparing a single price for the non-

selected respondent (Green Farms) to the single prices of the two

mandatory respondents. See Final Remand at 11–14, Appx__ (RCD 4;

RPD 6).

        B. Commerce Failed to Evaluate the Calculated Rates of
           Other Mandatory Respondents from Recent Reviews

        Commerce failed to follow its practice. Commerce normally

evaluates the prior calculated rates of other cooperating respondents

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from prior proceedings in this context to determine or confirm a

separate rate. Indeed, this is exactly what Green Farms argued in its

briefs to Commerce and in its opening Rule 56.2 brief to the Court. As

noted therein, Green Farms urged Commerce to consider the prior

calculated rates of other cooperating respondents from various prior

administrative reviews, including the fifteenth review (AR15), the

sixteenth review (AR16), and the seventeenth review (AR17). See Green

Farms Rule 56.2 Motion and Memorandum in Support (Oct. 20, 2022)

(ECF No. 29) at 42-49. This included the rate of $0.15/kg calculated for

NTSF in AR15, as well as the calculated rates of $0.00/kg for NTSF and

Vinh Hoan in AR17 and AR16, respectively. See id.

        But Commerce did not even consider the calculated rates of the

mandatory respondents from the immediately preceding reviews. Nor

did Commerce consider the AD rates calculated in the recently

completed nineteenth administrative review (AR19), which were

$0.00/kg for Vinh Hoan and $0.18/kg for Caseamex. See Certain Frozen

Fish Fillets from the Socialist Republic of Vietnam: Final Results and

Partial Rescission of Administrative Review; 2021-2022, 89 Fed. Reg.




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18,595 - 96, (Dep’t of Commerce March 14, 2024). Indeed, these are the

most recent calculated rates for cooperating respondents.

        Evaluating rates from the recently completed segments of the

same proceedings is consistent with the approach Commerce itself used

in its recently completed third remand pursuant to court proceedings in

the thirteenth administrative review (AR13). See Final Results of

Redetermination Pursuant to Court Remand, GODACO Seafood Joint

Stock Co. v. United States, Court No. 18-0063, Slip. Op. 21-03 (Court

Int’l Trade Jan. 6, 2021). Indeed, in that case, after two remands,

Commerce ultimately used an average of the calculated AD rates from

the most recently completed administrative reviews. See id.

        As noted earlier, Commerce may not arbitrarily depart from its

prior policies without adequate justification. See, e.g., Nippon Steel

Corp. v. U.S. Int’l Trade Comn’n, 494 F.3d 1371, 1377 n.5 (Fed. Cir.

2007); see also Huvis Corp. v. United States, 570 F.3d 1347, 1354-55

(Fed. Cir. 2009). Commerce failed to do so here.

        C. Commerce Fails to Distinguish Prior Decisions.

        Commerce tries to distinguish prior decisions as not applicable in

this case but its efforts to do so are not persuasive. Commerce argues it


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has no such established policy of considering the dumping rates of other

mandatory respondents in prior proceedings in this context. See Final

Remand at 42, Appx__ (RCD 4; RPD 6). Commerce says this is

“misstatement” of its policy and that various prior decisions (including

the Navneet decision) are not on point. Id. at 42-43. Yet Commerce

itself concedes that it is appropriate to consider prior margins of

mandatory respondents in this context if “the circumstances of a

particular case make it reasonable to do so.” Id. at 43. Green Farms

has argued that the circumstances of this case make it reasonable to do

so given the lack of record evidence demonstrating that the use of a

harshly punitive AFA rate reflects economic reality.

        Commerce next points to the recent Federal Circuit decision of

Pro-Team Coil Nail Enterprise Inc. v. Unicatch Industrial Co., Ltd., No.

22-2241, slip. op. (Fed. Cir. Aug. 15, 2024) as further support for its

actions. See Final Remand at 43-44, Appx__ (RCD 4; RPD 6). But the

Pro-Team decision actually supports Green Farms arguments. In Pro-

Team the Court held that Commerce may use AFA rates of the

mandatory respondents to determine the separate rates of the non-




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selected respondents, but only if it is reasonable to do so under the

facts. See Pro-Team at 15.

        Moreover, Pro-Team is factually distinguishable. The AFA rate in

that case was corroborated by actual “transaction-specific dumping

margins” of those respondents. See id. at 13. Commerce had record

evidence of actual dumping margins by the mandatory respondents

above the AFA rate used to derive the separate rate. See id. at 15. By

contrast, there is no record evidence of any such dumping margins by

NTSF above the AFA rate used for Green Farms. Indeed, as Green

Farms has argued all along, NTSF’s rate is much lower.

        D. Commerce’s Separate Rate Analysis for Green Farms
           was Arbitrary and Otherwise Unreasonable.

        Commerce not only ignored its prior practice, Commerce also

arbitrarily created a new methodology, and it failed to support its

findings with substantial evidence. Commerce made arbitrary

assumptions and evidentiary errors in devising its new short-cut

methodology.




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                1.    Commerce’s Comparison Methodology Uses
                      Arbitrary Assumptions and Adjustments.

        Specifically, Commerce compared a single sale price from Green

Farms’ separate rate application to single sales prices submitted by the

two mandatory respondents (i.e., East Sea and NSTF). See Final

Remand at 12-14, Appx__ (RCD 4; RPD 6). Commerce then made

arbitrary adjustments to the prices ostensibly to account for any

“known differences.” See id. This included adjustments for (1)

international freight and (2) U.S. inland movement expenses and other

expenses of NTSF’s U.S. affiliate (for CEP sales). See id. Commerce

tried to account for 9 different expenses, which it then summarized into

three different expense categories (including (1) international freight

expenses; (2) U.S. Inland Movement expenses and (3) CEP expenses).

See id. at 13.

        Commerce made arbitrary assumptions and adjustments to the

prices. Commerce also made an error in the starting price (which it

later corrected). See id. at 44. In short, its comparison was arbitrary

because the sales were made on such different terms of sale. In

particular, each of the three sales were made on completely different

sales terms, including [FOB, DDP, and CIF]. See id. at 13. Importantly,

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NTSF made its U.S. sales through an affiliate in the U.S., whereas

Green Farms and East Sea made sales to unaffiliated customers

directly. See id. at 12. These differing sales terms result in [significant]

pricing differences, as Commerce’s own summary chart shows. See id.

at 12-13. Commerce purports to account for these differences, but it is

not clear that Commerce accurately did so inasmuch as the adjustments

appear to be based entirely on NTSF’s data. See id. The adjustments

were mere estimates and not precise.

        In sum, the individual sales that were compared as between NTSF

and Green Farms are not in fact wholly comparable. One was [made

late in 2019 and at a large volume.]. The other was [a smaller spot sale,

and without other services] in the US. See id. Commerce was not able

to fully adjust for the differences.

                2.    Commerce’s Comparison Methodology is
                      Otherwise Flawed

        Moreover, Commerce ultimately made a meaningless comparison

between the sales prices of the various U.S. respondents. Commerce

used the selling prices of respondents as a type of surrogate comparison

point for determining potential dumping on Green Farms’ sales. Such a

comparison does not measure dumping. Dumping is a comparison of an

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exporter’s pricing in the US either to that exporter’s own pricing in the

home market or third country, or constructed value, or surrogate value.

See generally 19 U.S.C. §§ 1673e(a)(1), 1677b, 1677a(a) (noting, inter

alia, that dumping measures the amount by which “normal value”

exceeds “export price”). These provisions make clear that Commerce

measures dumping by comparing “normal value” (i.e., home market

value) to the “export price” or “constructed export price.” See 19 U.S.C.

§1677b. Further, these provisions require a “fair comparison.” See id.

         Commerce’s short-cut methodology is neither fair, nor proper.

Commerce is comparing Green Farms’ U.S. “export price” (i.e., Green

Farms’ selling price in the U.S.) to its competitor’s U.S. “export price”

(i.e., NTSF’s selling price in the US). Such a comparison is not

contemplated by the statute. It is wholly arbitrary.

        Commerce acknowledges it does “not have the data necessary to

conduct a full margin analysis for the company.” See Final Remand at

13-14, Appx__ (RCD 4; RPD 6). Commerce admits it does not have the

data because Green Farms “was not selected for individual

examination.” Id. But Commerce should not use a short-cut based on

incomplete data and incorrect assumptions. Doing so unfairly and


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improperly penalizes Green Farms for the lack of data that “is not the

fault of the separate rate respondents.” See Navneet, 999 F. Supp. 2d at

1363. This is particularly true where, as here, “the available data …

were limited by the Department’s decision” as to the number of

mandatory respondents. See id.

        In short, Commerce is unfairly penalizing Green Farms for the

uncooperative behavior of East Sea and for Commerce’s own decision

not to replace East Sea as a respondent when it quit the case. And,

Commerce is doing so despite the fact that Green Farms fully

cooperated.

        In response to these numerous critiques, Commerce states that it

has no other basis to make such a comparison, and that “Green Farms

suggests no alternatives.” Final Remand at 45, Appx__ (RCD 4; RPD

6).. This response misses the point. Green Farms is arguing that

Commerce should abandon this approach, and not make this

comparison at all. Commerce’s approach is arbitrary, flawed, and

meaningless. Green Farms has, in fact, offered an alternative, which is




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that Commerce look to the rates of the respondents from the preceding

reviews.2

        Green Farms is not aware that Commerce has ever used such a

methodology in any prior case. Commerce appears to have invented

this methodology in this case solely to avoid looking at and using the

actual calculated rates of the other mandatory respondents.

III. Conclusion

        Thus, for these reasons, we respectfully request that the Court

remand the case back to Commerce for reconsideration again consistent

with the arguments in this brief.

                                    Respectfully submitted,

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2Commerce also states it does not have the resources to perform a full
dumping calculation for Green Farms. Id. at 48-49. Commerce’s
response again misses the point. Green Farms is not arguing that
Commerce undertake this analysis for non-selected respondents. Green
Farms is simply pointing out the fallacy of Commerce’s short-cut
approach.

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                                   Counsel to Plaintiff Green Farms
                                   Seafood Joint Stock Company




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       UNITED STATES COURT OF INTERNATIONAL TRADE
        BEFORE: HONORABLE M. MILLER BAKER, JUDGE


      GREEN FARMS SEAFOOD JOINT
      STOCK COMPANY

                              Plaintiff,
                        v.

      UNITED STATES,                           Court No. 22-00092

                              Defendant,

                        and

      CATFISH FARMERS OF
      AMERICA, et al.

                        Defendant-
      Intervenors.

                      CERTIFICATE OF COMPLIANCE

        Pursuant to U.S. Court of International Trade Rule 2(b)(2) of the

Court’s Standard Chambers Procedures, undersigned counsel for

Plaintiff Green Farms certifies this brief complies with the Court’s type-

volume limitation rules. This brief contains no more than 4762 words

and therefore does not exceed 10,000 words. This brief also complies

with all typeface requirements.

                                           Respectfully submitted,




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                                        Seafood Joint Stock Company




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       UNITED STATES COURT OF INTERNATIONAL TRADE
        BEFORE: HONORABLE M. MILLER BAKER, JUDGE


      GREEN FARMS SEAFOOD JOINT
      STOCK COMPANY

                              Plaintiff,
                       v.

      UNITED STATES,                           Court No. 22-00092

                              Defendant,

                       and

      CATFISH FARMERS OF
      AMERICA, et al.

                       Defendant-
      Intervenors.


                                   ORDER

        Upon consideration of Plaintiff’s Comments in Opposition to the

Remand, and all other papers and proceedings, it is hereby:

        ORDERED that Plaintiff’s Comments in Opposition to the Final

Remand requesting further remand are GRANTED; and it is further

        ORDERED that this case is remanded to the U.S. Department of

Commerce in accordance with the Court’s decision.


                                           Judge M. Miller Baker, Judge



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Dated:                             2021
            New York, New York




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